
674 S.E.2d 139 (2009)
STATE of North Carolina
v.
Steve MORRISON.
No. 289P06-3.
Supreme Court of North Carolina.
February 5, 2009.
Steve Morrison, Pro Se.
Amy C. Kunstling, Assistant Attorney General, Peter S. Gilchrist, III, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 14th day of October 2008 in this matter for a writ of certiorari to review the order of the Superior Court, Mecklenburg County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 5th day of February 2009."
